                     2:10-cv-00791-DCN                  Date Filed 07/06/10                Entry Number 16-3
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   COMPANY        TEAM      PORTFOLIO        MEDIA ROOM        CAREERS        CONTACT         CORPORATE RESPONSIBILITY              INVESTOR LOG-IN        SEARCH




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     Dissolved in Michigan


     Carlyle News                                           December 21, 2007
     This section contains news releases and                #2007-154
     other documents issued by Carlyle, its                 The Carlyle Group Completes Transaction with Manor Care;
     portfolio companies, and third parties.                Temporary Restraining Order Dissolved in Michigan
     Portfolio company news releases and
     third party documents have a "pc"                      Toledo, OH - Manor Care, Inc. (NYSE: HCR) today announced that global
                                                            private equity firm The Carlyle Group has completed its $6.3 billion
     designation after the number.
                                                            acquisition of Manor Care. Manor Care stockholders will receive $67.00 in
                                                            cash for each share of common stock owned. The current Manor Care
       Fund                                                 management team, led by Chairman, President and Chief Executive Officer
                                                            Paul A. Ormond, will continue to operate the business. Manor Care also
       Industry                                             announced that the temporary restraining order filed yesterday in Michigan
       Geography                                            has been dissolved.
       News Releases                                        "We are pleased with this successful outcome," said Mr. Ormond. "We look
                                                            forward to working with Carlyle and continuing to provide quality care to our
                                                            patients and residents."

                                                            Karen Bechtel, Carlyle Managing Director and Global Head of Healthcare,
                                                            said, "We are pleased to back a high-quality company and management
                                                            team. We support Paul Ormond's strategic vision and support his
                                                            commitment to quality patient care."

                                                            On October 17, 2007, Manor Care's stockholders approved the merger
                                                            agreement at a special meeting, with more than 99 percent of shares
                                                            present voting for approval. The number of shares voting to approve the
                                                            merger agreement represented more than 76 percent of the total number of
                                                            shares outstanding and entitled to vote.

                                                            As a result of this transaction, Manor Care stock will cease trading on the
                                                            New York Stock Exchange at market close today, December 21, 2007.
                                                            Stockholders who hold shares through a bank or broker will not have to take
                                                            any action to have their shares converted into cash, since these conversions
                                                            will be handled by the bank or broker. Stockholders who hold certificates can
                                                            exchange their certificates for $67.00 per share in cash, without interest,
                                                            through Manor Care's transfer and paying agent, National City Bank.
                                                            National City will send out instructions to registered stockholders in the next
                                                            several days regarding specific actions stockholders will need to take to
                                                            exchange their shares for the merger consideration.

                                                                                                   *****

                                                            Manor Care, Inc., through its operating group HCR Manor Care, is a leading
                                                            provider of short-term post-acute services and long-term care. The
                                                            company's nearly 60,000 employees provide high-quality care for patients
                                                            and residents through a network of more than 500 skilled nursing and
                                                            rehabilitation centers, assisted living facilities, outpatient rehabilitation clinics,


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                                                            and hospice and home care agencies. The company operates primarily
                                                            under the respected Heartland, ManorCare Health Services and Arden
                                                            Courts names.

                                                            The Carlyle Group is a global private equity firm with $74.9 billion under
                                                            management committed to 57 funds. Carlyle invests in buyouts, venture &
                                                            growth capital, real estate and leveraged finance in Africa, Asia, Australia,
                                                            Europe, North America and South America, focusing on aerospace &
                                                            defense, automotive & transportation, consumer & retail, energy & power,
                                                            financial services, healthcare, industrial, infrastructure, technology &
                                                            business services and telecommunications & media. Since 1987, the firm
                                                            has invested $37.7 billion of equity in 737 transactions for a total purchase
                                                            price of $213.1 billion. The Carlyle Group employs more than 990 people in
                                                            21 countries. In the aggregate, Carlyle portfolio companies have more than
                                                            $87 billion in revenue and employ more than 286,000 people around the
                                                            world www.carlyle.com .

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